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 1    KOTCHEN & LOW LLP                              YADEGAR, MINOOFAR &
 2    DANIEL LOW, SBN 218387                         SOLEYMANI LLP
      dlow@kotchen.com                               NAVID SOLEYMANI, SBN 219190
 3    DANIEL KOTCHEN (pro hac vice)                  soleymani@ymsllp.com
 4    dkotchen@kotchen.com                           NAVID YADEGAR, SBN 205315
      LINDSEY GRUNERT (pro hac vice)                 navid@ymsllp.com
 5    lgrunert@kotchen.com                           1875 Century Park East
 6    1918 New Hampshire Ave. NW                     Suite 1240
      Washington, DC 20009                           Los Angeles, CA 90067
 7    Telephone: 202.471.1995                        Telephone: 310.499.0140
 8    Facsimile: 202.280.1128                        Facsimile: 888.667.9576
 9    Attorneys for Plaintiffs
 10
                             UNITED STATES DISTRICT COURT
 11                         CENTRAL DISTRICT OF CALIFORNIA
 12                               WESTERN DIVISION
 13   CHRISTY PALMER, VARTAN                  CASE NO. 17-CV-6848 DMG (PLAx)
 14
      PIROUMIAN, ANN COX, and JEAN-
      CLAUDE FRANCHITTI,                     PLAINTIFFS’ NOTICE OF MOTION
 15                                          AND MOTION FOR CLASS
                         Plaintiffs,         CERTIFICATION
 16
            v.
 17                                           Hon. Dolly M. Gee
 18   COGNIZANT TECHNOLOGY
      SOLUTIONS CORPORATION and                Hearing
 19   COGNIZANT TECHNOLOGY                     Date: July 22, 2022
 20   SOLUTIONS U.S. CORPORATION,              Time: 10:00 a.m.
                                               Place: Courtroom 8C, 8th Floor
 21                      Defendants.           Complaint Filed: September 18, 2017
 22                                            Discovery Cut-Off: April 22, 2022
                                               Pre-Trial Conference Date: Nov. 29, 2022
 23                                            Trial Date: January 3, 2023
 24
                                               REDACTED VERSION SOUGHT TO BE
 25                                            SEALED
 26

 27

 28


                         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1    TO THE COURT AND ALL PARTIES AND COUNSEL OF RECORD:
 2          Please take notice that on July 22, 2022 at 10:00 a.m., in Courtroom 8C of the
 3    United States Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs will
 4    and hereby do move the Court for certification of two classes and one subclass pursuant
 5    to Federal Rule of Civil Procedure 23.
 6          As discussed in the accompanying memorandum, Defendants Cognizant
 7    Technology Solutions Corporation and Cognizant Technology Solutions U.S. Corporation
 8    (“Cognizant” or “Defendants”) have instituted two discriminatory policies and related
 9    practices that violate Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2, and
 10   the Civil Rights Act of 1866, 42 U.S.C. § 1981. Specifically, Cognizant has instituted a
 11                                                       and related practices by which
 12

 13                                                      Plaintiffs are challenging these policies
 14   and related practices under a pattern-or-practice theory and, in the alternative, under a
 15   disparate impact theory.
 16         Cognizant’s discriminatory policies have been directed towards
                                                                                                 1
 17   within its U.S. workforce, which include
 18   (hereafter the “Class Bands”). Within Cognizant’s U.S. workforce,
 19                                                                                    .
 20         Plaintiffs seek certification of two classes (and one subclass) for adjudication of
 21   Plaintiffs’ pattern or practice and disparate impact claims, in accordance with the two-
 22   phase process for such claims. See Int’l Bhd. of Teamsters v. United States, 431 U.S. 324,
 23   360-61 (1977); Ellis v. Costco Wholesale Corp., 285 F.R.D. 492, 505, 546-47 (N.D. Cal.
 24   2012).
 25         First, Plaintiffs seek certification of the following Termination Class:
 26

 27         1
                Cognizant refers to
 28
                                                 ii
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 1                                       Termination Class
 2
            Between September 18, 2013 to the date of class certification, all
 3          individuals who are not of South Asian race or Indian national origin and
 4          who were terminated while employed                                  in the
            U.S., excluding any individuals bound by an agreement to arbitrate
 5          termination claims with Cognizant.
 6          A core business practice at issue in this case is Cognizant’s
 7

 8                  Many putative class members terminated from Cognizant, including
 9    Plaintiffs, were terminated from the bench due to Cognizant’s discriminatory policies and
 10   related practices. Accordingly, Plaintiffs seek to certify the following terminations
 11   subclass involving benched employees:
 12
                                   Bench Termination Subclass
 13

 14         Between September 18, 2013 to the date of class certification, all
            individuals who are not of South Asian race or Indian national origin and
 15         who were terminated from the bench while employed
 16                       in the U.S., excluding any individuals bound by an agreement
            to arbitrate termination claims with Cognizant.
 17

 18         Second, Plaintiffs seek certification of the following Hiring Class:
 19
                                            Hiring Class
 20

 21         Between September 18, 2013 to the date of class certification, all
            individuals who are not of South Asian race or Indian national origin and
 22         who applied to a Cognizant             position in the U.S. and were not
 23         offered a position.
 24
            Plaintiffs do not seek certification of a promotions class, even though Cognizant’s
 25
                                                             related practices have resulted in
 26
                                     .
 27

 28
                                               iii
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 1          Class certification is appropriate under Rule 23(b)(3) because the following
 2    common questions to be resolved in Phase One predominate over the remaining questions
 3    of individual defenses/damages to be resolved in Phase Two:
 4
            1. With respect to each class/subclass, did Cognizant engage in a pattern or practice
 5
                of discriminating on the basis of race and/or national origin? If so, does
 6
                Cognizant’s conduct meet the standard for an award of punitive damages? (Jury)
 7
            2. With respect to each class/subclass, did Cognizant’s
 8
                                                (and related practices) disparately impact class
 9
                members? If so, was each such policy justified by a business necessity that could
 10
                not have been accomplished by a less discriminatory alternative? (Judge)
 11
            Alternatively, the proposed classes and subclass should be certified as to the
 12
      foregoing common classwide liability issues pursuant to Rule 23(c)(4), so that they can
 13
      be adjudicated in a single Phase One process.
 14
            Plaintiffs respectfully submit that they satisfy the class certification requirements
 15
      set forth in Rule 23(b)(3), or at least Rule 23(c)(4), such that their Motion for Class
 16
      Certification should be granted, the proposed classes and subclass should be certified,
 17
      Plaintiffs Cox and Piroumian should be appointed as class representatives, and Plaintiffs’
 18
      Counsel, Kotchen & Low LLP and Yadegar, Minoofar & Soleymani LLP, should be
 19
      appointed Class Counsel on behalf of the certified classes.
 20
            This motion is based upon the notice of motion, the Memorandum of Points and
 21
      Authorities, the Declaration of Daniel Kotchen, all accompanying exhibits, and such
 22
      argument as the Court may allow.2
 23
            DATED: May 13, 2022                           By: /s/Daniel Kotchen
 24                                                       Dan Kotchen
                                                          Attorney for Plaintiffs
 25

 26

 27         2
              This motion is made following the conference of counsel in October 2019 when
 28   the parties first discussed a class certification briefing schedule.
                                                 iv
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 18
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 1          This is a class action involving Cognizant’s systemic discrimination against non-
 2    South Asians and non-Indians involving two corporate policies (and related practices) –
 3    Cognizant’s                                               policies – that, at root,
 4
                                                                                3
 5                                                                                  Within the
 6              Cognizant’s policies and related practices have resulted in
 7

 8

 9          While the Court need not adjudicate the merits of Plaintiffs’ classwide allegations
 10   to find that class certification is appropriate, in connection with a pattern-or-practice
 11   discrimination investigation                                        the Equal Employment
 12   Opportunity Commission (“EEOC”) determined in February 2020 that Cognizant
 13   "discriminated against a nation-wide class of non-Indian applicants by refusing to hire
 14   them on the basis of their race and national origin and against a nation-wide class of non-
 15   Indian employees on the basis of race and national origin by removing them from
 16   assignments that they were qualified for, refusing to assign them to new projects, and
 17   terminating them when they remained unassigned.” Ex. 1 at 66.
 18         Pursuant to Rule 23, Plaintiffs move to certify a termination class, a bench
 19   termination subclass, and a hiring class through the established two-phase Teamsters’
 20   framework, involving adjudication of classwide liability in Phase One and individual
 21   defenses/damages in Phase Two. Int’l Bhd. of Teamsters v. United States, 431 U.S. 324,
 22   360-61 (1977). Alternatively, Plaintiffs request this Court certify the common classwide
 23   liability issues per Rule 23(c)(4), so they can be adjudicated for all class members in a
 24   single Teamsters’ Phase One process.
 25

 26
            3
 27             Cognizant refers to
                                                                                                 Ex.
 28
      2 (Johnson Rpt.) ¶ 8 n.4.

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1                                I.    FACTUAL BACKGROUND
2    A.    Cognizant Overview
3          Cognizant is a United States corporation headquartered in Teaneck, New Jersey that
4    provides information technology (“IT”) staffing services to corporations. Dkt. #147 ¶¶ 8,
5    16. Corporations retain Cognizant to provide IT support in lieu of employing IT
6    professionals, often entering multi-year service contracts that specify various IT “projects”
7    that Cognizant will perform. Id. ¶ 16. The United States is Cognizant’s primary market.4
8          Cognizant employs over 40,000 individuals in the United States and roughly
9    240,000 individuals in India. Id. at 6. Cognizant’s U.S. workforce has consisted
                                                                       5
10                                                                          Cognizant has
11                                                and has been the top recipient of H-1B visas
12   since at least 2013,                                                              .6
13         H-1B visas are intended for foreign specialty labor (like IT labor) only when
14   insufficient Americans exist for the work for which the visas are sought.7 H-1B visas are
15   valid for an initial three years, can be extended once for another three years, and can then
16   be extended year-to-year thereafter if a visa employee seeks permanent U.S. residence.
17   Ex. 4 at 879. H-1B visas cannot be used for labor arbitrage. By law, Cognizant must pay
18   H-1B visa employees the higher of (a) what it pays similar U.S. employees in that role or
19   (b) a prevailing wage established by the Department of Labor. 20 C.F.R. § 655.731(a).
20

21

22

23         4
               Cognizant Form 10-K at 27 (Dec. 2021), available at https://cogniz.at/3w8ushR.
24         5

25

26

27         6
                                         Ex. 6 (approved H-1Bs for FY 13-19).
           7
28             See 8 C.F.R. § 214.2(h)(1)(ii)(B); 8 C.F.R. § 214.2(i)(1).
                                                    2
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1          Cognizant relies secondarily on                              .
2

3                                                                                        Id. at 881.
4          In addition to visa employees, Cognizant employs non-visa holders in the U.S.,
5    referred to as “local” employees. Local employees are former
6                                         and non-visa holders hired in the U.S.8
7          Cognizant’s U.S. workforce has
8

9
10

11

12         Cognizant employees work in either billable or non-billable roles. Ex. 9 118:5-17.
13   Billable employees serve clients that have retained Cognizant for IT services, such that
14   they bill/allocate time to client projects. Id. 119:14-19. Non-billable employees serve in
15   corporate functions that do not involve billing or allocating time to client projects, such as
16   finance, marketing, human resources, sales, procurement, operations, and shared services.
17   Id. 118:9 – 119:7; Ex. 10 143:9-11.
18         Cognizant is generally organized into                                         with some
19   variation over time. See Ex. 11 at 85-86; Ex. 12 at 37.
20

21

22

23

24                                         Ex. 14 at 97. Cognizant’s billable employees routinely
25   move from project-to-project. Dkt. #147 ¶ 16.
26         8
               Ex. 7 at 73; Ex. 8 at 72                                             ).
27         9
               Id. ¶ 19, Fig. 22; Ex. 4 at 889
28                                     ).
                                                   3
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1                                                                                     Ex. 15 at
2    43.
3

4                                           ).10
5                                             Ex. 17 at 10, 11.
6          Sometimes billable employees are not immediately allocated to new jobs after being
7    taken off a project or the end of their project work. These unassigned employees are
8    placed in an unallocated status known as being “benched.” Ex. 9 21:9-14. Nonbillable
9    employees generally are not subject to being benched. Id. 132:22-133:10.
10         Cognizant’s “bench” consists of “deployable pools” of billable employees available
11   for new jobs: the Practice Deployable Pool (“PDP”), a pool of employees available to be
12   staffed within their assigned BU, and the Corporate Deployable Pool (“CDP”), a pool of
13   employees available to be staffed across all BUs. Id. 25:4-14. Generally, a benched
14   employee is first placed on a PDP and then, if not placed in a role, moved to the CDP for
15   potential placement. Id.
16                                    Ex. 15 at 42. Cognizant typically terminates benched U.S.
17   employees who remain unallocated to a new role after five weeks on the bench. Id. at 56;
18   Ex. 9 26:13-15. Cognizant sometimes “proactively” hires external candidates to meet
19   future, forecasted needs and allocates those individuals to the PDP until they are mapped
20   to a role. Ex. 9 167:23-168:25. Employees hired to the bench are not subject to the same
21   bench policy as other benched employees. Id. 168:17-21.
22         If an external hire is required for a role,
23

24   Ex. 18 at 95. Cognizant also relies on                                     .11
25
           10
26              See Ex. 9 228:13-229:11; Ex. 16 at 26

27               ).
           11
28              Ex. 19 159:23-160:5                                                           .
                                                  4
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1

2                    . Ex. 20 29:4-30:10.
3                                                                                Id. 44:5-45:1.12
4    B.    Cognizant’s Discriminatory Staffing Program.
5          Cognizant has maintained a discriminatory staffing program with two distinct
6    policies and related practices :
7

8

9
10

11

12                  Cognizant’s                    Policy.
13

14

15

16                                                                                              .
17   Only 65,000 H-1B visas are issued each year (with 20,000 additional H-1Bs issued to
18   workers with advanced degrees) through a highly competitive lottery process.15 Visas can
19   be sought only for positions that actually exist when applications are filed.16 Like its
20
           12
21              Ex. 19 163:8-15 (                                                166:11-24.
           13
22              Per Cognizant, the term
23
           14
                Ex. 22 at 55, 57; Ex. 5 at 09
24

25         15
                See USCIS Reaches Fiscal Year 2022 H-1B Cap, USCIS (Feb. 28, 2022),
26   https://bit.ly/3vQzMpM.
           16
               See PM-602-01114 at 2, USCIS (June 17, 2020), https://bit.ly/3w4tK3F (“A bona
27
     fide job offer must exist at the time of filing.”); PM-602-0157 at 4, USCIS (Feb. 22, 2018),
28   https://bit.ly/2JoOxLn (requiring “non-speculative qualifying assignments” at filing).
                                                   5
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1    competitors, Cognizant files H-1B visa applications at the beginning of April each
2    calendar year and then has to wait until October—six months later—for H-1B visas to be
3    awarded.
4

5          The H-1B visa program’s limitations have created two challenges for Cognizant:
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9                                     To address these challenges,
10                                        with the goal of “get[ting] associates visa-ready, so if a
11   suitable opportunity arises in the US [Cognizant could] move quickly.”18
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                 See Ex. 24 at 36 (
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              Ex. 25 (“As discussed, it would be beneficial for you (JC, Phil) to address the
18   team to explain the strategy regarding visa-readiness for potential US opportunities. The
19   message to the team has been that the idea is to get associates visa-ready, so if a suitable
     opportunity arises in the US we can move quickly.”); Ex. 26
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                 See e.g.
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                            PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                                                               See n.16, supra.
2    Cognizant thus established a process to falsify paperwork in which U.S. executives were
3    falsely identified as “onsite managers” of Cognizant associates for whom visas were
4    sought, in case federal authorities needed to speak with someone about the visa
5    applications.21 Cognizant’s Global Immigration Team (“GIT”) described this as a “normal
6    practice,”22 and, as part of this practice, Mr. Franchitti—along with other executives—
7    was instructed to sign false invitation letters submitted in support of H-1B (and L-1) visa
8    applications in which Mr. Franchitti attested to the existence of fake jobs. Franchitti Decl.
9    ¶ 3. (Mr. Franchitti’s letter signing responsibilities were transferred to another executive
10   after Mr. Franchitti questioned the legality of the practice. Id.).
11         Using falsified paperwork, Cognizant has routinely sought H-1B (and L-1) visas
12   against non-existent jobs
13                                               – in future opportunities that arise.24
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16            See Ex. 30 (“Since many a times, the visa petition is filed proactively (without
     know-how of the project that the associate might travel for in the future), we needed a
17   point of contact from GTO US who is permanently or semi-permanently located in the
18   US. It seems that in 1 in 100 or 200 cases, the officer evaluating the petition is within his
     rights to call up the onsite manager and confirm whether he is aware that the specific
19   associate has filed a petition”).
20         22
               Id. (“After speaking extensively with [Global Immigration Team] higher ups,
21   they recommend that it is a normal practice that somebody from the vertical/horizontal
     offers to support this.”).
22         23
                See n.5, supra.
23         24
              Ex. 31 at 3 (“Per our conversation with Immigration last week, they told us we
24   did not have to identify a project for each person to get a visa that would be good for 3
     years. We are not assigning anyone to any project at this time. We are just processing the
25
     paperwork, and obtaining the visas so that team members are travel ready ASAP.”); Ex.
26   32 at 1 (instructing transfer to team to “[p]lease start working on getting yourself travel
     ready to come to the US. While I don’t have any specific openings for you at this time, we
27
     are constantly being asked for Manager Level architects . . . [and] we can find an
28   opportunity for you when you are ready to travel”).
                                                  7
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3                                                                    Cognizant has consistently
4    been a top filer and recipient of H-1B visa applications,27 filing annually between 9,276
5    and 29,414 H-1B visa applications (including extensions/amendments) during the class
6    period. Ex. 39 (chart of approvals).28
7          In
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                See Ex. 33 at 397; Ex. 34 at 58; Ex. 35 at 62 (“
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17                                                                                        h.”).
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25         28
                Data source for chart of H-1B visa approvals: https://bit.ly/3FEhFXo.
26         29


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                          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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7                   Cognizant’s              Policy and Practices.
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                         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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                     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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16                                                          For example, open positions were

17   first posted in ESA and visible only to GWFM/TSC and TAG—groups that were

18                                                                                             .

19   Ex. 9 71:17-72:16. Benched resources in the U.S. cannot view open positions in ESA. Id.

20   72:17-73:4. Only those positions unfilled in ESA are then moved to Cognizant’s Talent

21   Market Place (“TMP”), an electronic database viewable to benched U.S. resources. Id. In

22   stark contrast

23                        resources were largely expected to find and apply to open U.S.

24   positions themselves.39

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           39
               Id. 47:7-22 (TSC “not responsible for placing” benched employees in roles, rather
27
     it acts as a “facilitator”); Ex. 15 at 43 (“
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                                               12
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4    B.   Cognizant’s Discriminatory Scheme’s Effects on Non-South Asians.
5         Cognizant’s staffing policies and practices were
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               Ex.
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               Ex. 2 ¶¶ 9, 10, 16-17, 32-54, Figs. 1-4, 8-23.
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28             See id. ¶¶ 32-40, Figs. 1, 8-12, 22-23 for complete hiring and workforce analysis.
                                                 13
                          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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8          Cognizant is a federal contractor required to have an affirmative action program.46
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12                                            Even after the EEOC formally opened a pattern-or-
13   practice investigation of Cognizant                                  Cognizant elected not to
14   alter its discriminatory policies to account for the fact that it was under a federal corporate-
15   wide investigation for discrimination. It is therefore unsurprising that the EEOC ultimately
16   concluded that Cognizant discriminated on the basis of race and national origin in both
17   hiring and terminations from the bench. Ex. 1 at 66.
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           44
19              See id. ¶¶ 42-48, Figs. 1, 13-17 for complete terminations analysis.
           45
20              See id. ¶¶ 49-54, Figs. 18-21 for complete promotions and appraisal analysis.
           46
21              See 41 C.F.R. § 60-2.1; Ex. 80 at 92-93 (

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24         47
                See, e.g., 81 at 603, 607, 611, 614 (
25         48

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                           PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1          Non-South Asian employees have attested to Cognizant’s culture of discrimination,
2    including:
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5                        particular relevance to the proposed terminations class, non-South Asian
6    employees complained about
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8          Internal complaints and concerns also focused on Cognizant’s hiring practices. It
9    was widely known that Cognizant
10   Cognizant relied on
11

12                                 See § I(A), supra.
13         The experiences of the Plaintiffs are representative of the impact of Cognizant’s
14   policies and practices on non-South Asians. Ann Cox’s deceased husband, Edward Cox,
15   was never promoted despite performing well from January 2014 to April 2017. Ex. 89 at
16   03-04. Mr. Cox’s South Asian manager would refuse to allow Mr. Cox to speak to clients,
17   would exclude Mr. Cox from meetings, and routinely spoke in Hindi. Id. at 04. In January
18   2017, Mr. Cox was removed from his project and benched. Id. While on the bench, Mr.
19   Cox interviewed for multiple open roles within Cognizant that he was well-qualified for,
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           49
21           See, e.g., Ex. 84 at Exs. D, E, K, L, N, (Compilation Exhibit of                     rges
     regarding same); Ex. 85 at Exs. C, F, G; (Compilation Exhibit of
22   regarding same), Ex. 86 at Exs. D, F (Compilation Exhibit of                          regarding
23   same).
           50
             See, e.g., Ex. 84 at Exs. A, B, E, J, K, L, N, P; Ex. 85 at Exs. B, D, F, H, N; Ex.
24
     86 at Exs. D, E, F, H.
25         51
                See, e.g., Ex. 84 at Exs. E, K, N; Ex. 85 at Exs. B, L; Ex. 86 at Ex. E.
26         52
                See, e.g., Ex. 84 at Exs. I, J; Ex. 85 at Ex. B.
27         53
                See, e.g., Ex. 84 at A, B, C, D, E, G, M; Ex. 85 at Exs. F, I; Ex. 86 at Ex. E.
           54
28              Ex. 88 at 95 (“
                                                  15
                           PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1    but the positions were given to less-qualified South Asian employees, and Mr. Cox was
2    terminated from the bench. Id. Following his termination, Mr. Cox interviewed to be re-
3    hired by Cognizant, and despite his qualifications, was not hired. Ex. 90 at 15-16. Vartan
4    Piroumian was never promoted, was replaced on thirteen different projects by employees
5    who traveled from India, and was ultimately terminated from the bench after
6    unsuccessfully searching for a job while benched. Piroumian Decl. ¶¶ 2-4. Christy Palmer
7    was never promoted, was repeatedly removed prematurely from positions to be replaced
8    with South Asian workers, was intentionally left off meeting invites and not invited to
9    group lunches or after-work events, was ignored or treated rudely when she did attend
10   meetings, and was constructively discharged due to Cognizant’s discrimination. Ex. 91 at
11   54; Ex. 92 at 70. Jean-Claude Franchitti worked at Cognizant for over nine years,
12   beginning in 2007, and received only one promotion (in 2011). Ex. 93 at 61-62. Mr.
13   Franchitti was passed over for subsequent promotions and was terminated after he lodged
14   discrimination complaints concerning Cognizant’s removing non-South Asians from
15   projects, benching them, and then terminating them from the bench. Id. at 63-65; Franchitti
16   Decl. ¶¶ 4-5. The EEOC found that Cognizant's reasons for terminating Mr. Franchitti
17   were pretextual and probable cause supported his claim that he was terminated due to
18   Cognizant’s pattern of discrimination and in retaliation for Mr. Franchitti raising concerns
19   about such discrimination. Ex. 1 at 72-73.
20         None of the Plaintiffs were terminated from their positions because they were
21   deemed poor performers.55 And Cognizant’s treatment of the Plaintiffs is representative
22   of its broader treatment of non-South Asians (and non-Indians), and
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26              Kotchen Decl. ¶ 2; see also Ex. 94 at 20
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28                                                                              .”).
                                                 16
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3    C.   Cognizant’s Discriminatory Scheme’s Effects on Visa Employees from India.
4         By design, Cognizant’s business model results in
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15                             II.   LEGAL STANDARD
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               Ex.
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                     PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1         “A district court has broad discretion in making a class certification determination
 2   under Rule 23.” Lucas R. v. Azar, No. CV 18-5741-DMG (PLAx), 2018 WL 7200716, at
 3   *3 (C.D. Cal. Dec. 27, 2018) (Gee, D.). Class certification is appropriate when the relevant
 4   requirements of Fed. R. Civ. P. 23 are satisfied. “Because a class certification decision ‘is
 5   far from a conclusive judgment on the merits of the case, it is of necessity … not
 6   accompanied by the traditional rules and procedure applicable to civil trials.’” Sali v.
 7   Corona Reg’l Med. Ctr., 889 F.3d 623, 631 (9th Cir. 2018) (citation omitted). “[I]n
 8   evaluating [the] motion …, a district court need only consider ‘material sufficient to form
 9   a reasonable judgment on each [Rule 23] requirement.’” Id. at 632 (citation omitted).
10   “Rule 23 grants courts no license to engage in free-ranging merits inquiries[.] . . . Merits
11   questions may be considered to the extent—but only to the extent—that they are relevant
12   to determining whether the Rule 23 prerequisites for class certification are satisfied.”
13   Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 466 (2013); Brown v.
14   DirecTV, LLC, 330 F.R.D. 260, 266 (C.D. Cal. 2019) (Gee, D.). Persuasiveness of the
15   evidence is, in general, a matter for a jury. Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct.
16   1036, 1049 (2016). “The district court’s class certification order, while important, is also
17   preliminary: ‘An order that grants or denies class certification may be altered or amended
18   before final judgment.’” Sali, 889 F.3d at 631 (quoting Fed. R. Civ. P. 23(c)(1)(C)).
19   Further, “[e]mployment discrimination . . . is by definition class discrimination. Since the
20   purpose of Title VII is to eliminate such class-based discrimination, class actions are
21   favored in Title VII actions for salutary policy reasons.” Gay v. Waiters’ & Dairy
22   Lunchmen’s Union, 549 F.2d 1330, 1333 (9th Cir. 1977).
23                                      III.   ARGUMENT
24         To obtain class certification, Plaintiffs must first satisfy the four prerequisites of
25   Rule 23(a): (1) numerosity, (2) commonality, (3) typicality, and (4) adequacy. See Lucas
26   R., 2018 WL 7200716, at *3. Then, Plaintiffs must satisfy one of the criteria of 23(b).
27   Lucas R., 2018 WL 7200716, at *3.
28
                                                18
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1          Here, Plaintiffs seek class certification of a Termination Class, a Bench Termination
2    Subclass, and a Hiring Class – all involving Cognizant                     positions
3                See Notice of Mot. at ii-iii, supra (defining the classes and subclass). Plaintiffs
4    Cox and Piroumian seek to serve as representatives of the Termination Class and Bench
5    Termination Subclass, and Plaintiff Cox seeks to serve as the representative of the Hiring
6    Class. Plaintiffs Palmer and Franchitti do not seek to represent a class, as Plaintiffs are
7    not seeking to certify a promotions class and Mr. Franchitti was terminated from
8                                                       . See Ex. 2, Fig. 4 (                     ).
9          Plaintiffs’ proposed classes and subclass satisfy all of the relevant requirements of
10   Rule 23(a) and 23(b)(3). Alternatively, Plaintiffs seek an order pursuant to Rule 23(c)(4)
11   certifying the proposed classes and subclass with respect to the following Phase One issues
12   only: (1) whether Cognizant engaged in a pattern or practice of discrimination against each
13   class/subclass, (2) whether Cognizant’s “                                              policies
14   and practices had an unjustified disparate impact on each class/subclass; (3) the
15   availability of punitive damages.
16   D.    Plaintiffs Satisfy Rule 23(a)’s Prerequisites.
17         Plaintiffs satisfy each of the Rule 23(a) perquisites.
18                Plaintiffs Satisfy Rule 23(a)’s Numerosity Requirement.
19         Plaintiffs’ proposed classes each include thousands of members
20

21                                                          . Ex. 2 ¶¶ 41, 48. These classes satisfy
22   Rule 23’s numerosity requirement. See Buchanan v. Tata Consultancy Servs., Ltd.,
23   No.15-cv-01696, 2017 WL 6611653, at *21 (N.D. Cal. Dec. 27, 2017) (finding
24   numerosity met and certifying terminations class of “between 896 and 1,116 benched [and
25   terminated] non-South Asian employees”); Lucas R., 2018 WL 7200716, at *12 (25-30
26   class members raises “presumption[]” that numerosity is satisfied).
27                Plaintiffs Satisfy Rule 23(a)’s Commonality Requirement.
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                                                19
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 1         Rule 23(a)(2) requires that at least one issue of law or fact be common to the claims
 2   of the putative class. See Morgan v. U.S. Soccer Fed., Inc., No. 2:19-cv-01717, 2019 WL
 3   7166978, at *7 (C.D. Cal. Nov. 8, 2019) (“the requirements for finding commonality are
 4   minimal.”).61 “[A] common question is one where ‘the same evidence will suffice for each
 5   member to make a prima facie showing [or] the issue is susceptible to generalized, class-
 6   wide proof.’” Tyson Foods, 577 U.S. at 453 (citation omitted). This does not require
 7   “absolute uniformity, but only a ‘regular’ practice … [or] ‘pattern of discriminatory
 8   decision making.’” Ellis v. Costco Wholesale Corp., 285 F.R.D. 492, 518 (N.D. Cal. 2012)
 9   (citation omitted). In Dukes, the Supreme Court explained that to satisfy the commonality
10   element plaintiffs’ “claims must depend upon a common contention . . . [of] such a nature
11   that it is capable of classwide resolution–which means that determination of its truth or
12   falsity will resolve an issue that is central to the validity of each one of the claims in one
13   stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
14         This case involves two related forms of systemic, classwide discrimination by
15   Cognizant against non-South Asians and non-Indians: (1) a pattern and practice of
16   intentional discrimination in favor of South Asians and Indians in hiring and terminations,
17   and (2) employment policies that adversely impact non-South Asians and non-Indians.
18         For both claims, there is a well-established, two-phase evidentiary framework
19   where the primary issue of classwide liability is adjudicated during Phase One, and then
20   – if classwide liability is established – the availability and amount of relief to individual
21   class members is addressed during Phase Two. See Teamsters 431 U.S. at 360-61; Ellis,
22   285 F.R.D. at 505, 546-47. During Phase One, “the questions being asked are at the
23   classwide level—did these processes cause disparate impact and does the use of the
24   processes evidence disparate treatment?” Chen-Oster v. Goldman, Sachs & Co., No. 10
25   Civ. 6950, 2022 WL 814074, at *21 (S.D.N.Y. Mar. 17, 2022).
26                a.     Plaintiffs’ Pattern or Practice Claims.
27         61
              Commonality is distinct from the predominance inquiry of Rule 23(b)(3), which
28   is “far more demanding.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623-24 (1997).
                                                20
                         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1         A pattern and practice claim requires proof of a “systemwide pattern or practice” of
 2   discrimination such that the discrimination is “the regular rather than the unusual
 3   practice.” Teamsters, 431 U.S. at 336. During the initial classwide liability phase – Phase
 4   One – “the focus often will not be on individual [employment] decisions, but on a pattern
 5   of discriminatory decisionmaking.” Id. at 360 n. 46. Resolution of Phase One will provide
 6   a common answer to the question of whether Cognizant “engaged in a regular practice of
 7   discrimination” against non-South Asians and non-Indians with respect to hiring and
 8   terminations. Id. at 360.
 9         Although the evidentiary framework and two-phase process for adjudicating pattern
10   or practice discrimination claims almost inherently presents common questions of fact and
11   law, the Supreme Court has required plaintiffs seeking certification of such claims to show
12   the existence of a centralized policy, practice, or directive. Dukes, 564 U.S. at 359. In
13   Dukes, the plaintiffs failed to meet this requirement because they challenged a corporate
14   policy of fully delegating employment decisions to low-level decision makers, which the
15   court described as a “policy against having uniform employment practices.” Id. at 355.62
16   The court explained that “[w]ithout some glue holding the alleged reasons for all those
17   decisions, it will be impossible to say that examination of all the class members’ claims
18   will produce a common answer to the crucial question why was I disfavored.” Id. at 352.
19   The “glue” missing from Dukes is supplied where, as here, plaintiffs demonstrate a
20   centralized “common direction,” or identify specific discriminatory employment practices
21   implemented under the influence and control of defendant’s management. See Ellis, 285
22   F.R.D. at 509; Buchanan, 2017 WL 6611653, at *19-20.
23         Plaintiffs have presented significant proof that Cognizant operated under a “general
24   policy of discrimination” against non-South Asians and non-Indians with respect to
25   terminations and hiring during the class period. First, the EEOC determined in February
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           62
              The court noted that the plaintiffs’ “only evidence of a ‘general discrimination
27
     policy of discrimination’” was a sociologist’s analysis asserting that Wal-Mart's corporate
28   culture made it “vulnerable” to gender bias.” Id. at 353-54.
                                                21
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1    2020 that “there is reasonable cause to believe that, since December 4, 2014,63 [Cognizant]
2    discriminated against a nation-wide class of non-Indian applicants by refusing to hire them
3    on the basis of their race and national origin and against a nation-wide class of non-Indian
4    employees on the basis of race and national origin by removing them from assignments
5    that they were qualified for, refusing to assign them to new projects, and terminating them
6    when they remained unassigned.”64 Ex. 1 at 66. The EEOC’s determination is per se
7    admissible and “highly probative.” Plummer v. Western Int’l Hotels Co., 656 F.2d 502,
8    505 (9th Cir. 1981); see Finley v. UPS, No. CV-16-00055, 2018 WL 6421693, at *1 (D.
9    Ariz. June 5, 2018) (“pursuant to Plummer, EEOC probable cause determinations are per
10   se admissible”). It also “supports the conclusion that common issues of fact and law exist.”
11   Wright v. Stern, No. 01 Civ. 4437, 2003 WL 21543539, at *6 (S.D.N.Y. July 9, 2003)
12   (EEOC’s determination that defendant engaged in a pattern or practice of discrimination,
13   and its referral of same to the DOJ supported plaintiffs’ showing on commonality issue).
14         Second, Plaintiffs have presented a significant volume of contemporaneous
15   documents and evidence demonstrating that Cognizant established a
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19            While the EEOC found that Cognizant has engaged in a pattern or practice of
20
     discrimination since December 4, 2014, substantial evidence supports Plaintiffs’ claims
     that Cognizant maintained the same discriminatory practices throughout the class period
21   (beginning September 18, 2013). See § I(A)-(B), supra; See generally Ex. 2 (Johnson
22
     Rpt.); Ex. 103 at 58
                                          ”).
23         64
               While the EEOC’s finding was primarily directed to terminations of “benched”
24   employees, the EEOC found that Plaintiff Franchitti’s termination – which was not from
     the bench – was part of this pattern or practice. See Ex. 1 at 72-73. Regardless, Plaintiffs
25   terminations class is not limited to bench terminations because Cognizant documents and
26   Plaintiffs’ statistical proof demonstrate that Cognizant’s pattern or practice of
     discrimination was not limited to terminations from the bench. See § I(A)-(B), supra.
27
     (Plaintiffs also seek certification of a subclass of employees who were terminated from
28   the bench).
                                                22
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2

3                         See § I(A)-(B), supra.
4          Third, Plaintiffs have presented compelling, and statistically significant, evidence
5    that Cognizant
6

7                                                                          See § I(B), supra.
8          In Buchanan, the court certified a terminations class against one of Cognizant’s
9    competitors based on similar evidence that Tata Consultancy Services (“TCS”) engaged
10   in a pattern or practice of discrimination with respect to terminations. 2017 WL 6611653,
11   at *19-20, 23. The court found that “plaintiffs offer[ed] sufficient proof that TCS ‘operated
12   under a general policy of discrimination’” by presenting evidence of “statistically
13   significant disparities in involuntary [termination] rates between benched South Asian and
14   non-South Asian employees” and “TCS documents which describe a general corporate
15   policy of favoring expats and visa-ready individuals who are predominantly South Asian
16   in allocating benched employees to open client projects.” Id. at *20. Here, Plaintiffs have
17   also presented evidence of similar
18

19
20

21                                          See § I(A), supra.
22         While the court in Buchanan declined to certify a hiring class of non-South Asian
23   and non-Indian applicants, its reasons for doing so are inapplicable here. First, the parties
24   in Buchanan disputed whether it was reasonable for plaintiffs’ statistical expert to treat
25   visa holders’ first project in the U.S. as their date of hire for purpose of the statistical
26   analysis. Buchanan, 2017 WL 6611653, at *9-10. The court ultimately found that it was
27   a “close call,” but held that it was “reasonable for Dr. Neumark to deem an expat’s first
28   project in the United States as the expats date of hire” because visa workers competed
                                                23
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1    with local hires for U.S. positions and applied and interviewed for jobs in the U.S. like
2    locals. Id. at *10, 16. However, the court discounted the probative value of Dr. Neumark’s
3    analysis when considering the commonality issue as to the hiring class. Id. at *20. Here,
4    the issue is far less of a “close call” because there is
5

6                                                       See § I(A), supra.
7          Second, the Buchanan plaintiffs’ only other evidence of TCS’s discrimination in
8    hiring was “anecdotal” and lacked any general policy with respect to hiring. Buchanan,
9    2017 WL 6611653, at *20. Here, by contrast, Plaintiffs have presented overwhelming
10   evidence that Cognizant’s                                                        policy and
11   practices were designed
12                               See § I(A), supra.
13         The hiring class in this case is also distinguishable from Buchanan, and other cases
14   where courts declined to certify hiring classes, due to the EEOC’s determination that
15   Cognizant in fact engaged in a nationwide pattern or practice of discrimination against
16   non-South Asian and non-Indian applicants. See Ex. 1 at 66.
17                b.     Plaintiffs’ Disparate Impact Claims.
18         For disparate impact claims, plaintiffs must show that their employer “uses an
19   employment policy or practice that causes a disparate impact on a protected group.”
20   Williams v. Boeing Co., 225 F.R.D. 626, 639 (W.D. Wash. 2005). Generally, statistical
21   proof is used to show that the disparity is (1) significant, and (2) caused by the challenged
22   employment practice. Id.
23         For a disparate impact claim, the “commonality” requirement is satisfied once the
24   plaintiffs identify “‘specific employment practices that are allegedly responsible for any
25   observed statistical disparities.’” Stockwell v. City & Cnty. of S.F., 749 F.3d 1107, 1114-
26   15 (9th Cir. 2014) (citation omitted). By doing so, the “question whether the policy has an
27   impermissible disparate impact on the basis of [the protected characteristic] necessarily
28   has a single answer.” Id. at 1116; see also Simpson v. Dart, 23 F.4th 706, 712 (7th Cir.
                                                24
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 1   2022) (“Where, as here, a plaintiff identifies a discrete employment policy that allegedly
 2   results in discrimination, Title VII disparate impact claims are well suited for classwide
 3   adjudication: the policy either disparately impacted the plaintiff class or it did not.”);
 4   Morgan, 2019 WL 7166978, at *7 (“the Ninth Circuit has ‘previously held, in a civil-
 5   rights suit, that commonality is satisfied where[, as here,] the lawsuit challenges a system-
 6   wide practice or policy that affects all of the putative class members.’”) (citation omitted).
 7         Once the specific employment policies/practices allegedly causing the disparate
 8   impact have been identified, “the ensuing Rule 23 analysis requires no inquiry into the
 9   merits to determine that the remaining two elements of [plaintiffs’] disparate impact
10   claims almost necessarily present questions common to the class—whether those
11   [policies/practices] in fact caused a disparate impact and, if so, whether the use of the
12   [policies/practices] was justified by business necessity.” Simpson, 23 F.4th at 712. Further,
13   a defendant cannot defeat commonality by challenging the sufficiency of the statistical
14   proof the plaintiffs intend to use to prove their case at trial. Stockwell, 749 F.3d at 1114.
15   Accordingly, the trial court need not “approve of the statistical showing the [plaintiffs]
16   have made as adequate to make out their merits case.” Id. at 1116, 1117 (reversing the
17   trial court’s denial of class certification as an abuse of discretion because it “disregarded
18   the existence of common questions of law and fact and impermissibly addressed the merits
19   of the class's claims.”); see also Simpson, 23 F.4th at 712 (vacating denial of class
20   certification because “to assess whether plaintiffs’ [disparate impact] claims presented
21   common questions, the district court did not need to consider whether [plaintiffs’]
22   statistical experts controlled for racially neutral factors or whether the tests had been
23   validated for use at other departments.”).
24         Here, the proposed classes and subclass satisfy the commonality requirement
25   because Plaintiffs have identified specific policies and practices that have resulted in a
26   disparate impact on non-South Asian and non-Indian employees and applicants. See §
27   I(A)-(B), supra.
28                c.     The Availability of Punitive Damages.
                                                25
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 1         The availability of punitive damages is also a question common to the classes that
 2   will rely on class-wide evidence because “‘such a claim focuses on the conduct of the
 3   defendant and not the individual characteristics of the plaintiffs.’” Ellis, 285 F.R.D. at 502,
 4   542 (citation omitted) (certifying class and holding that “the availability of punitive
 5   damages should be adjudicated in Stage One of the trial”).
 6                Plaintiffs’ Claims are Typical of the Classes.
 7         “Typicality requires a showing that ‘the claims or defenses of the representative
 8   parties are typical of the claims or defenses of the class.’” DirecTV, 330 F.R.D. at 267
 9   (quoting Fed. R. Civ. P. 23(a)(3)). “Under the ‘permissive standards’ of Rule 23(a)(3),
10   ‘representative claims are typical if they are reasonably co-extensive with those of absent
11   class members; they need not be substantially identical.’” In re High-Tech Emp. Antitrust
12   Litig., 985 F. Supp. 2d 1167, 1181 (N.D. Cal. 2013) (quoting Hanlon v. Chrysler Corp.,
13   150 F.3d 1011, 1020 (9th Cir. 1998)). Rather, plaintiffs’ claims are typical if they “arise[]
14   from the same event or course of conduct that gives rise to the claims of other class
15   members and the claims are based on the same legal theory.” Schwartz v. Harp, 108
16   F.R.D. 279, 282 (C.D. Cal. 1985). In pattern-or-practice cases, “where it is alleged that
17   the defendant engaged in a common scheme relative to all members of the class, there is
18   a strong assumption that the claims of the representative plaintiffs will satisfy the
19   typicality requirement.” Walton v. Franklin Collection Agency, Inc., 190 F.R.D. 404, 409
20   (N.D. Miss. 2000); Cohen v. Trump, 303 F.R.D. 376, 383 (S.D. Cal. 2014) (claims are
21   typical where plaintiff and class were subject to a “common fraudulent ‘scheme’”); Rai
22   v. Santa Clara Valley Transp. Authority, 308 F.R.D. 245, 260 (N.D. Cal. 2015) (claims
23   “grounded on the same [] policies, practices and procedures” established typicality).
24         Here, Plaintiffs Cox and Piroumian claims are typical of the terminations class (and
25   the bench termination subclass) and Plaintiff Cox’s claims are typical of the hiring class.
26   See § I(B), supra (detailing Plaintiffs’ experiences). Specifically, Plaintiffs Cox and
27   Piroumian’s claims are typical of the proposed termination class and bench termination
28   subclass because they were removed from projects, benched, and then terminated. Ex. 89
                                                26
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 1   at 03-04; Piroumian Decl. ¶¶ 2-4. Plaintiff Cox’s claims are typical of the hiring class
 2   because he applied to Cognizant after his termination and was not hired. Ex. 90 at 15-16.
 3   Typicality is satisfied because Plaintiffs and putative class members are challenging the
 4   same course of conduct under the same disparate treatment and disparate impact theories
 5   which they allege resulted in gross statistical disparities in hiring and terminations.65
 6                Plaintiffs are Adequate Class Representatives and Class Counsel Will
                  Fairly and Adequately Represent the Classes.
 7
           “The adequacy requirement is satisfied if plaintiffs and their counsel will prosecute
 8
     the action vigorously on behalf of the class, and do not have interests adverse to unnamed
 9
     class members.” Morgan, 2019 WL 7166978, at *8. These requirements are met here
10
     because no known conflicts of interest exist, as Plaintiffs Cox and Piroumian were
11
     terminated and/or denied hire by Cognizant, and they have been actively engaged in the
12
     case, have fully participated in discovery, and, as to Plaintiff Piroumian, has sat for
13
     depositions.66 Further, Kotchen & Low LLP (“K&L”) and Yadegar, Minoofar &
14
     Soleymani LLP have considerable experience with class actions and employment
15
16         65
               See Ruiz v. XPO Last Mile, Inc., No. 5-cv-2125, 2016 WL 4515859, at *8 (S.D.
17   Cal. Feb. 1, 2016) (certifying class and noting “claims are typical of the putative class
18
     because Plaintiff and the putative class . . . were subject to the same . . .
     company policies and procedures”); Morgan, 2019 WL 7166978, at *7 (typicality met
19   where parties suffered identical injuries and “Plaintiffs [we]re all subject to the same
20
     purportedly discriminatory compensation scheme”); Buchanan, 2017 WL 6611653, at *21
     (N.D. Cal. Dec. 27, 2017) (claims were typical where there was “substantial evidence of
21   TCS’ pattern and practice of favoring benched expats who are predominantly South Asian
22   in mapping such employees to open client projects” and where “employees which remain
     on the bench for a prolonged period of time are proposed for termination”); Lucas R., 2018
23   WL 7200716, at *15 (finding typicality and certifying class where the “proposed class
24   representatives have suffered injuries similar to those sustained by other members of their
     respective putative classes”); DirecTV, 330 F.R.D. at 267 (“Plaintiff's claims are typical
25   of the class because they arise from the same course of conduct and she suffered the same
26   injury as the putative Class and Subclass members”).
           66
            Former Named Plaintiff Ed Cox did not sit for a deposition prior to his death.
27
     Kotchen Decl. ¶ 4. His surviving spouse, Ann Cox, was substituted for Mr. Cox on
28   December 10, 2021. See Dkt. #229 at 5.
                                                27
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 1   discrimination litigation,67 have vigorously litigated this case for over four years,
 2   including expending considerable time and resources engaging in briefing numerous
 3   motions and oppositions, research, and discovery, and are unaware of any conflicts of
 4   interest. Accordingly, Kotchen & Low LLP and Yadegar, Minoofar & Soleymani LLP
 5   should be appointed Class Counsel pursuant to Rule 26(g).68
 6   E.    Each of Plaintiffs’ Proposed Classes Satisfy Rule 23(b)(3).
 7         Plaintiffs satisfy the predominance and superiority requirements of Rule 23(b)(3).
 8   See Lucas R., 2018 WL 7200716, at *3 (party must “also satisfy one of the criteria of Rule
 9   23(b).”). First, “questions of law or fact common to the class predominate over any
10   questions affecting only individual members.” Fed. R. Civ. P. 23(b)(3). “Plaintiffs are not
11   required to show that each element of the underlying cause of action is susceptible to
12   classwide proof … only … that common questions will predominate with respect to their
13   case as a whole.” In re High-Tech, 985 F. Supp. 2d at 1187. “Where common questions
14   ‘predominate,’ a class action can achieve economies of time, effort, and expense [and will]
15
16         67
              See, e.g., Buchanan, 2017 WL 6611653, at *1 (appointing K&L as class counsel
17   for terminations class); Heath v. Google Inc., 215 F. Supp. 3d 844, 855 (N.D. Cal. 2016)
18
     (granting Plaintiffs’ motion for conditional certification and K&L’s appointment as
     collective action counsel); In re Delta/AirTran Baggage Fee Antitrust Litig., 317 F.R.D.
19   675, 693, 700 (N.D. Ga. 2016) (certifying class of between 28 and 57 million members
20
     and appointing K&L as class counsel); In re Wholesale Grocery Prods. Antitrust Litig.,
     No. 09-MD-2090, 2016 WL 4697338, at *15 (D. Minn. Sept. 7, 2016) (appointing K&L
21   as class counsel).
           68
22             While some courts “have implied an additional requirement under Rule 23(a)[]
     that the proposed class be ascertainable,” Patel v. Trans Union, 308 F.R.D. 292, 301 (N.D.
23
     Cal. 2015), the Ninth Circuit has not adopted a separate “ascertainability” requirement.
24   Briseno v. ConAgra Foods, Inc., 844 F.3d 1121, 1124 n.4 (9th Cir. 2017). Regardless,
     Plaintiffs’ classes are ascertainable as they are defined based on objective criteria, namely:
25
     class members’ race, national origin, job band, and whether they were terminated
26   (including from the bench) or not hired. See Buchanan, 2017 WL 6611653, at *21 (class
     ascertainable where “plaintiffs define the class based on three objective criteria, namely
27
     (i) race, (ii), national origin, and (iii) whether TCS terminated that employee from the
28   bench during the class period”).
                                                28
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1    … permit adjudication of disputes that cannot be economically litigated individually.”
2    Westways World Travel, Inc. v. AMR Corp., 218 F.R.D. 223, 236 (C.D. Cal. 2003).
3                 Predominance
4          Common questions of fact and law will predominate because Phase One – the
5    liability phase – will focus on the common question of
6

7

8                          any individual defenses and damages reserved for Phase Two. See
9    Chi. Teachers Union v. Bd. of Educ. of City of Chi., 797 F.3d 426, 444 (7th Cir. 2015)
10   (finding question “was the selection process discriminatory?” to predominate over
11   individual questions because “it will certainly be efficient and fair to answer the question
12   once for all plaintiffs rather than in piecemeal litigation”). Determining adverse impact
13   and “‘pattern and practice question[s] predominate[] because [they] ha[ve] a direct impact
14   on every class member’s effort to establish liability and on every class member’s
15   entitlement to … monetary relief.’” Ellis, 285 F.R.D. at 538 (citation omitted).69
16                Superiority
17         Class treatment and adjudication of Plaintiffs’ pattern-or-practice and disparate
18   impact claims will also be “superior to other available methods for fairly and efficiently
19   adjudicating the controversy.” See Fed. R. Civ. P. 23(b)(3) (considering whether “(A) the
20   class members’ interests in individually controlling the prosecution or defense of separate
21   actions; (B) the extent and nature of any litigation concerning the controversy already
22   begun by or against class members; (C) the desirability or undesirability of concentrating
23         69
               See also Morgan, 2019 WL 7166978, at *9 (predominance met where “the
24   members of the putative class allege the same discriminatory employment practices of
     Defendant . . . [and t]he same evidence would be used to prove the claims against
25
     Defendant whether the claims proceed as a class action or as individual lawsuits.”); Moore
26   v. Napolitano, 926 F. Supp. 2d 8, 33 (D.D.C. 2013) (predominance met where “[a]ll
     members of the class will rely on the same statistical evidence to make the same claim”);
27
     Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013) (finding predominance
28   where “[t]here is a single, central, common issue of liability”).
                                                29
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 1   the litigation of the claims in the particular forum; and (D) the likely difficulties in
 2   managing a class action”).
 3          First, permitting this case to proceed as a class action is the only fair and efficient
 4   way to adjudicate whether Cognizant systemically discriminated against non-South Asian
 5   and non-Indian employees and applicants. If the class is certified and, in Phase One,
 6   Plaintiffs prove their pattern-or-practice or disparate impact claims, these issues will be
 7   resolved for the classes as a whole, obviating the need for further litigation on these central
 8   issues, saving judicial and class member resources, and avoiding the possibility of
 9   inconsistent judgments. See, e.g., Bell v. PNC Bank, Nat’l Assoc., 800 F.3d 360, 379-80
10   (7th Cir. 2015) (explaining that if the class prevails in demonstrating the defendant had an
11   illegal policy, individual class member trials may follow, but “[a]t least it will not be
12   necessary in each of those trials to determine whether [the defendant] had an illegal
13   policy” affecting the class). If the classes are certified, but Cognizant prevails after Phase
14   One, that will also efficiently resolve the entire classes’ claims in “one stroke.”70
15          Due to the nature of the claims at issue, Plaintiffs’ prima facie case requires proof
16   that Cognizant engaged in a pattern or practice of discrimination and that Cognizant’s
17   policies had a classwide disparate impact, regardless of whether those claims were tried
18   as a class action, or as individual claims.71 If this case is not certified to proceed as a class,
19

20
21
            70
22            See Fla. Educ. Ass’n v. Dep’t of Educ., No. 4:17cv414, 2019 U.S. WL 8219403,
     at *3 (N.D. Fla. Jan. 3, 2019) (“First, the Department says the plaintiffs cannot prove a
23   disparate impact. If the Department is correct, it will win on the merits, resolving the
24   claims of all the class members in one stroke. This is a reason to certify a class, not a
     reason not to.”).
25          71
               Although the Ninth Circuit has not addressed the issue, some district courts in
26   this Circuit have held that claimants cannot individually pursue a pattern or practice claim.
     See e.g., Buchanan v. Tata Consultancy Servs., Ltd., No. 15-cv-01696, 2018 WL 3537083,
27
     at *4 (N.D. Cal. July 23, 2018). As such, an adverse ruling on class certification could
28   prevent any claimants from challenging Cognizant’s systemic discrimination.
                                                 30
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1    individual claimants will have to either (1) duplicate Plaintiffs’ significant efforts72 in their
2    own separately-filed case, or (2) abandon their claims because doing so would be too
3    resource-intensive. Certifying this case as a class action is superior to either thousands of
4    individual suits (all litigating the same threshold liability issues), or zero individual suits.
5          In reality, very few, if any, claimants will elect to pursue individual claims against
6    Cognizant if this class is not certified.73 Besides the significant resource barriers required
7    to pursue a case, many claimants may be too afraid of retaliation to sue Cognizant.74
8    Employees who questioned Cognizant’s practices have
9                             .75 Cognizant is now suing Plaintiffs Piroumian, Franchitti, and
10   Cox76 in New Jersey because they preserved documents in their possession related to this
11
           72
               Plaintiffs and their Counsel have already expended significant effort and
12
     resources in conducting discovery and preparing for a classwide Phase One trial
13   addressing Cognizant’s systemic discrimination. Since this case was filed in 2017, they
     have invested significant resources to compel documents and data (including moving
14
     twice for sanctions) and then to meaningfully review and analyze that information. See
15   Dkt. #235 at 16-17 (“This Court has been involved in considering a number of discovery
     disputes in this action, and at every step of the way it appears that defendants have gone
16
     out of their way to interpret their discovery obligations in as narrow a way as possible[.]”);
17   see also Dkt. #180 at 19. Cognizant has ultimately produced hundreds of thousands of
     pages of documents and “troves of data for more than 100,000 employees and even more
18
     applicants.” See Dkt. #235 at 3, 11-12.
19         73
              See Chamberlan v. Ford Motor Co., 223 F.R.D. 524, 527 (N.D. Cal. 2004) (“few
20   potential class members could afford to undertake individual litigation … [and] few class
     members would have any meaningful redress against [defendant] as a practical matter.”).
21
           74
               See 2012 Scholarship Series: Tsunami: AT&T Mobility LLC v. Concepcion
22   Impedes Access to Justice, 90 Or. L. Rev. 703, 723 (noting that employment class actions
23   also benefit absent class members because they need not “endure many emotional or other
     costs of bringing a claim.”).
24         75

25                                                                               Ex. 1 at
26   72 (“Credible evidence supports [Franchitti’s] contention that he was discharged in
     retaliation for his complaints regarding national origin discrimination.”).
27         76
              After learning of Mr. Cox’s death, Cognizant has moved to substitute his widow
28   as a defendant in the case. Ex. 105 (Mot. to Substitute and Remand)
                                                 31
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 1   case, as the EEOC instructed them do. Ex. 106 (Compl.); Ex. 107 (EEOC preservation
 2   notice). In that lawsuit, Cognizant is demanding that those Plaintiffs repay the entirety of
 3   the compensation received from their employment with Cognizant. See Ex. 106 at 14.
 4         The strong likelihood that all – or, at least, most – claimants will simply abandon
 5   their claims if the class is not certified demonstrates the superiority of proceeding as a
 6   class. A class action is the only feasible way that Cognizant’s discriminatory conduct will
 7   ever be evaluated on the merits, or that victims of Cognizant’s discrimination will receive
 8   compensation. Class actions also serve an important deterrent function with respect to
 9   conduct like systemic discrimination, which is resource-intensive and difficult to prove in
10   individual lawsuits. See Gay, 549 F.2d at 1333 (Title VII class actions by private litigant
11   play an important role in “eliminating discrimination in employment”).
12         Second, “[g]iven the class[es’] common questions affecting [them] as a whole at
13   the liability stages of this matter, and given class members’ ability to opt out of the …
14   class or to pursue their claims for relief in the second state of the proceedings under (b)(3),
15   class members have a diminished interest in individually controlling the common portions
16   of this action.” Ellis, 285 F.R.D. at 539-40.
17         Finally, a review of PACER revealed just four pending individual Title VII or
18   Section 1981 lawsuits against Cognizant, but none involving the pattern-and-practice
19   allegations at issue in this case. Kotchen Decl. ¶ 3; Ex. 108.
20                Manageability
21         There are no foreseeable manageability issues with classwide adjudication of the
22   common issues in Phase One, as the issues to be decided will be common to all, and neither
23   party needs to present individualized evidence. Ellis, 285 F.R.D. at 539 (individual
24   questions regarding class members’ entitlement to relief addressed by “employing the
25   Teamsters framework” which reserves individual relief and Defendant’s individualized
26   defenses for Phase Two). And if Cognizant prevails in Phase One, there will never be any
27   management issues to weigh against the benefits of certifying the class. See United States
28   v. City of N.Y., 276 F.R.D. 22, 34 (E.D.N.Y. 2011) (“Individual issues arise in disparate
                                                32
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 1   impact and pattern-or-practice disparate treatment cases only if the class establishes the
 2   employer's liability and the litigation proceeds to the remedial phase.”).
 3         If this case proceeds to Phase Two, it will be because a jury or the Court has found
 4   that Cognizant engaged in a pattern or practice of discrimination or employment practices
 5   that result in a disparate impact. The benefits of having these issues resolved on a
 6   classwide basis will outweigh any difficulties that may arise with respect to the process
 7   for determining individual class member’s damages during Phase Two. See Fed. R. Civ.
 8   P. 23(b)(3)(D); In re Catfish Antitrust Litig., 826 F. Supp. 1019, 1045 (N.D. Miss. 1993)
 9   (“the management of individual interests which may arise are an acceptable trade-off and
10   are not particularly compelling when compared to the advantages of consolidated
11   treatment of common issues of liability.”); Ellis, 285 F.R.D. at 539 (“The need for
12   individualized hearings does not, on its own, defeat class certification.”). For Phase Two,
13   “‘there are a number of management tools available to a district court to address any
14   individualized damages issues, such as bifurcation, the use of a magistrate or special
15   master, [sample trials], alteration of the class definition, the creation of subclasses, or even
16   decertification after a finding of liability.’” City of N.Y., 276 F.R.D. at 50 (citation
17   omitted); see Ex. 109 (Phase Two alternatives).
18         First, as a practical matter, if the jury (or Court) makes a liability finding in Phase
19   One, it is likely that the Parties will consider a classwide settlement. See Suchanek v. Sturm
20   Foods, Inc., 764 F.3d 750, 760 (7th Cir. 2014) (“if the class prevails [in Phase One], ‘the
21   case would probably be quickly settled.’” (citation omitted)); Powell v. Tosh, 280 F.R.D.
22   296, 310 (W.D. Ky. 2012). Settlement would, of course, obviate any management issues
23   with adjudicating individual defenses or damages. See T.K. v. Bytedance Tech. Co., No.
24   19-CV-7915, 2022 WL 888943, at *13-14 (N.D. Ill. Mar. 25, 2022).
25         Second, even without a settlement, the Parties and the Court can agree on a structure
26   for Phase Two proceedings to resolve individual questions in an orderly, efficient manner.
27   See Carnegie v. Household Int’l, Inc., 376 F.3d 656, 661 (7th Cr. 2004); see also Powell,
28   280 F.R.D. at 310 (the Parties and the Court “can agree on a plan to streamline any damage
                                                33
                         PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1   trial should Plaintiff's prevail on the issue of liability”). As discussed in Powell, if unable
 2   to agree upon a classwide settlement following Phase One, the Court could “encourage
 3   both parties to submit to a magistrate or special master for damage determinations” and
 4   then streamline the process by “agree[ing] to place the plaintiffs in groups of plaintiffs
 5   with similar damages and perhaps try representative cases with others being bound.” 280
 6   F.R.D. at 311. Or, the Court could “conduct[] individual jury trials on the damage claims
 7   until the parties have enough information to finalize settlement negotiations.” Id.
 8         In any event, this Court need not address and resolve the exact process that may be
 9   used in the remedial phase if Plaintiffs are successful in Phase One. See Williams, 225
10   F.R.D. at 638 (finding it is prudent to refrain from this decision until after Phase One).
11   F.    Certification of Phase One Issues is Appropriate Under Rule 23(c)(4).
12         If the Court remains concerned regarding certification under Rule 23(b)(3) (which
13   it should not), Plaintiffs request that the Court certify the proposed classes only as to the
14   following Phase One issues pursuant to Rule 23(c)(4): (1) whether Cognizant engaged in
15   a pattern or practice of discrimination against each class/subclass, (2) whether Cognizant’s
16   employment policies and practices resulted in a disparate impact on each class/subclass
17   that was not justified by business necessity; (3) the availability of punitive damages.
18         “‘Rule 23 authorizes the district court in appropriate cases to isolate the common
19   issues under Rule 23(c)(4)(A) and proceed with class treatment of these particular
20   issues.’” Ellis, 285 F.R.D. at 544 (quoting Valentino v. Carter-Wallace, Inc., 97 F.3d
21   1227, 1234 (9th Cir. 1996)). “Courts faced with a proposed issue class should consider
22   ‘whether the adjudication of the certified issues would significantly advance the resolution
23   of the underlying case, thereby achieving judicial economy and efficiency.’” Kamakahi v.
24   Am. Soc’y for Reprod. Med., 305 F.R.D. 164, 176 (N.D. Cal. 2015) (quoting Valentino,
25   97 F.3d at 1229). Rule 23(c)(4)(A) “is particularly helpful in enabling courts to restructure
26   complex cases to meet the other requirements for maintaining a class action.” 7A Wright
27   & Miller, Federal Practice And Procedure § 1780 at 562 (2d ed.1986). Here, certifying the
28   classes as to these Phase One issues will resolve the most important issues common to the
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 1   classes, streamline proceedings, prevent inconsistent judgments, and conserve the
 2   resources of the Parties, the Court, and class members.
 3   G.    Nature of the Notice to the Proposed Classes Required.
 4         Pursuant to Rule 23(c)(2)(B) and L.R. 23-2.2, Plaintiffs request that class notice
 5   containing all the information outlined in Rule 23(c)(2)(B) be sent to all putative class
 6   members whose personal email is available in Cognizant’s systems via email, and, if the
 7   email bounces or the email address is unknown, then via United States mail. Because the
 8   EEOC has already found that Cognizant engaged in a pattern-or-practice of
 9   discrimination, Cognizant shall bear the cost of the notice.77
10                                    IV.     CONCLUSION
11         For the foregoing reasons, the Court should certify the proposed classes and
12   subclass, appoint Plaintiffs Cox and Piroumian as class representatives, and appoint
13   Kotchen & Low LLP and Yadegar, Minoofar & Soleymani LLP as counsel.
14

15   DATED: May 13, 2022                           KOTCHEN & LOW LLP
16
                                                   By: /s/Daniel Kotchen
17                                                 Daniel Kotchen (pro hac vice)
                                                   Daniel Low, SBN 218387
18
                                                   Lindsey Grunert (pro hac vice)
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                                                   Attorneys for Plaintiffs
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              See 3 William B. Rubenstein, et al., Newberg on Class Actions § 8:6 (4th ed.
27
     2007) (class notice costs[] may be shifted to defendant after plaintiff's showing of some
28   success on the merits”).
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 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that a true and correct copy of the foregoing was served on all
 3

 4   counsel of record by electronic service through the Court’s CM/ECF system.

 5
 6   DATED: May 13, 2022                        By: /s/Daniel Kotchen
                                                Daniel Kotchen
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